           Case: 23-15992, 02/07/2024, ID: 12857046, DktEntry: 117, Page 1 of 2



                                   UNITED STATES OF AMERICA
                                 FEDERAL TRADE COMMISSION
                                     WASHINGTON, DC 20580



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                                        February 7, 2024


Molly Dwyer, Clerk of Court
U.S. Court of Appeals for the Ninth Circuit
James R. Browning Courthouse
95 Seventh Street
San Francisco, CA 04103

   RE: FTC v. Microsoft Corp., No. 23-15992
      (Argued Dec. 6, 2023 – Collins, Forrest, Sung, JJ.)

Dear Ms. Dwyer:

    The Federal Trade Commission (FTC) writes to notify the Court of Microsoft’s publicly
reported plan to eliminate 1,900 jobs in its video game division.1 This newly-revealed
information contradicts Microsoft’s representations in this proceeding, which seeks to
temporarily pause Microsoft’s acquisition of Activision pending the FTC’s evaluation of the
merger’s antitrust merits.

    Microsoft represented to this Court that “the post-merger company will be structured and
operated in a way that would readily enable Microsoft to divest any or all of the Activision
businesses as robust market participants in the unlikely event that such a divestiture is ordered.”
ECF_23 (Opposition to Injunction Pending Appeal) at 24; see also ECF_58 (Answering Brief) at
23, 66. Further, Microsoft argued that the principal public equity that would be served by an
injunction—“to maintain the pre-merger status quo”—is “not implicated by Microsoft’s vertical
acquisition of Activision, which Microsoft intends to operate as a limited-integration studio.” Id.
at 65, 66. Microsoft claimed that the public equity favoring an injunction “is more acutely
implicated in horizontal mergers, where competing entities integrate their operations and, in the
process, often eliminate redundancies.” Id. at 65.



   1
   See, e.g., J. Edward Moreno and Karen Weise, Microsoft Cuts 1,900 Jobs in Its Video
Game Division (The New York Times January 25, 2024).
         Case: 23-15992, 02/07/2024, ID: 12857046, DktEntry: 117, Page 2 of 2




     Microsoft’s recently-reported plan to eliminate 1,900 jobs in its video game division,
including in its newly-acquired Activision unit, contradicts the foregoing representations it made
to this Court. Specifically, Microsoft reportedly has stated that the layoffs were part of an
“execution plan” that would reduce “areas of overlap” between Microsoft and Activision,2 which
is inconsistent with Microsoft’s suggestion to this Court that the two companies will operate
independently post-merger. Moreover, the reported elimination of thousands of jobs undermines
the FTC’s ability to order effective relief should the pending administrative proceeding result in
a determination that Microsoft’s acquisition of Activision violated Section 7 of the Clayton Act.
The reported layoffs thus underscore the FTC’s need for injunctive relief pending completion of
the administrative proceeding.

                                                            Respectfully submitted,

                                                            /s/ Imad Abyad
                                                            IMAD D. ABYAD
                                                            Counsel for
                                                            FEDERAL TRADE COMMISSION


   cc: Counsel of Record




   2
    See Tom Warren, Microsoft lays off 1,900 Activision Blizzard and Xbox employees (The
Verge Jan. 25, 2024).

                                                2
